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               UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


DIOP KAMAU

               Plaintiff

                  v.
                                        Case No.: 4:21-cv-279-MW/MJF
GREGORY SLATE,

              Defendant



                ITEMIZATION OF BILL OF COSTS

   1.    FEES TO CLERK

         a.   $402.00 – Filing Fee for Notice of Removal. See Exhibit A.

         b.   $208.00 – Filing Fee for Pro Hac Vice Motion (receipt number
              AFLNDC-6413201). See ECF No. 10.

   2.    FEES FOR SERVICE OF SUMMONS AND SUBPOENA

         a.   $150.00 – Personal Service of 3x Subpoena Ducas Tecum. See
              Exhibit B.

         b.   $63.94 – Postage for Service of 8x Subpoena Ducas Tecum. See
              Exhibits C-D.

   3.    EXEMPLIFICATION AND COPIES

         a.   $250 – InMotion Hosting Subpoena. See Exhibit E.
